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                                UNITED STATES DISTRICT COURT

                                MIDDLE DISTRICT OF LOUISIANA

   ANTHONY DEBARBIERIS,                                  § CIVIL ACTION NO.
       Petitioner.                                       §
                                                         §
   v.                                                    § JUDGE
                                                         §
                                                         §
   SUN COAST RESOURCES, INC.,                            § MAGISTRATE JUDGE
       Defendant.                                        §

                                                 COMPLAINT

          NOW INTO COURT, through undersigned counsel, comes Petitioner, Anthony

Debarbieris (“Petitioner” or “Debarbieris”), by and through his undersigned counsel, Daniel |

Williams & Associates, PLLC, and files this Complaint against Defendant Sun Coast Resources, Inc.

(“Defendant” or “Sun Coast”), hereby alleges as follows:

                                            A.      Introduction

          This action seeks equitable relief, compensatory, punitive damages, liquidated damages,

  attorney's fees, expert witness fees, taxable costs of court, pre-judgment and post-judgment interest

  for violation of the Americans With Disabilities Act (ADA), Retaliation, Discrimination and

  Wrongful Termination. Additionally, Petitioner brings actions to vindicate his rights to fair

  treatment and equal employment opportunities and to make Petitioner whole.

                                      B.      Jurisdiction and Venue

          This Court has subject matter jurisdiction over Petitioners’ claims under 28 U.S.C. § 1331.

          Venue is proper pursuant to 28 U.S.C. § 1391(b) because a substantial part of the events

  giving rise to this action occurred in this district, and the majority of Defendants, who are sued in

  their official capacities, carry out their official duties at offices located in this district.
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                                            C.    Parties

        Petitioner, Anthony Debarbieris is an individual who resides in Slidell, Louisiana, and has

so resided at all times material so this suit.

        Defendant, Sun Coast Resources, Inc. is located at 6922 Cavalcade Street, Houston, Texas

77028, is a Company authorized to conduct business in Louisiana and may be served with process

by serving its registered agent, National Registered Agents Inc., located at 1108 E South Union

Avenue Midvale, UT 84047.

        Whenever in this complaint it is alleged that Defendant committed any act or omission, it

is meant that the Defendant’s officers, directors, vice-president, agents, servants, or employees

committed such act or omission and that at the time such act or omission was committed, it was

done with the full authorization, ratification or approval of defendant or was done in the routine

normal course and scope of employment of the Defendant’s officers, directors, vice-principals,

agent, servants, or employees.

                                             D.    Facts

        Petitioner began working for Sun Coast on September 13, 2006 as a driver in the state of

Louisiana. His responsibilities consisted of transporting hazardous materials along with checking

and refiling hazardous storage tanks. Additionally, during his employment with Sun Coast,

Petitioner received no written reprimands and maintained a level of satisfactory on all performance

evaluations.

        Prior to his untimely termination, Petitioner was a hard-working employee who diligently

performed his duties when assigned to him and had never been written up or disciplined to the

contrary.
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       On or about October 17, 2016, while refueling hazardous storage tanks, Petitioner fell

through a faulty railing when standing on the platform. As a result of the fall, Petitioner suffered a

series of serious injuries including a broken arm and injuries to his right humerus.

       Petitioner was unable to work and neither capable of earning an income and subsequently

placed on worker’s compensation leave.

   While out on workers’ comp, Petitioner was constantly harassed by his supervisor, Johnny

Mantrana who would inquire about Petitioner’s medical condition, treatment and return to work

the entire time he was out.

       This was stressful for Petitioner as it placed him in fear of potential termination and caused

him to become stressed about his future.

       Petitioner explained to Mr. Matrara and Human Resources that he could not return to work

without his doctor releasing him. Moreover, he explained that he had sustained a disability and

that upon returning to work, he must be placed on light or modified duty.

       While out on workers’ comp, Petitioner retained legal counsel to advise him of his rights.

Upon returning to work, Mr. Mantrana and other agents of Sun Coast Resources (i.e. HR

department) began to treat Petitioner unfavorably.

       Petitioner met with management to discuss his discomfort with the harassment; repetitive

questions about his medical treatment and comments related to his medical condition and that he

did not feel it was supportive to be asked about his injury so frequently or shunned because he

needed leave and reduced duty.

       His supervisor expressed to Debarbeiris that Sun Coast frowns on employees who require

too much medical leave, and that could be why he was being treated differently and questioned

about his injuries so much.
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       As a result of his disability, retaliation and participation in protected activity, Petitioner

was terminated on July 11, 2017.

       Petitioner reached out to the EEOC for help on April 24, 2018 by filing a formal charge

against Sun Coast for discrimination on the basis of his disability, and retaliation.

       Sun Coast discriminated and retaliated against Petitioner as a direct result of his disability

and his participation in protected activity. The company was simply not happy with the fact that

the employee they originally hired while healthy, had returned to work with a disability, and they

certainly were not happy that he decided to oppose the harassment, discrimination, and retaliation

that where exhibited towards him upon his return. More specifically, when Petitioner met with his

supervisor and notified him of the ongoing harassment and that he was planning to retain counsel

to advise him of his rights, he was terminated untimely.

                                       E.        Jury Demand

       Petitioner hereby makes demand for trial by jury. The required statutory jury fee has

already been tendered.

                                            F.     Prayer

       Wherefore, Petitioner asks for judgment against Defendant for the following:

           A. Back Pay and Front Pay;

           B. Punitive Damages;

           C. Mental anguish and emotional distress;

           D. Pre-Judgment and Post Judgment Interests;

           E. Reasonable attorney’s fees;

           F. Court costs; and

           G. All other relief this court deems appropriate.
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                                      Respectfully Submitted,

                                      DANIEL | WILLIAMS & ASSOCIATES, PLLC

                                      By:    /s/Helen M. Daniel
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                                             Telephone: (713) 229-9997
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PLEASE SERVE THE FOLLOWING:
SUN COAST RESOURCES, INC.
Through their registered agent:
National Registered Agents, Inc.
1108 E. South Union Avenue
Midvale, Utah 84047
